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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
AMENDED GENERAL ORDER 20-0012

March 16, 2020

INRE: CORONAVIRUS COVID-19 PUBLIC EMERGENCY

In response to the COVID-19 public emergency, the Centers for Disease Control and Prevention has
issued guidance recommending against mass gatherings of 50 or more persons for the next eight weeks (from
March 15, 2020 through May 3, 2020). This impacts the ability of the Court to convene jury trials because jury-
panel members initially report to a single location in the Jury Department. Also, the State of Illinois has closed
Illinois schools until at least through March 30, 2020, and the Illinois Department of Public Health has
recommended that the public implement social-distancing measures. In light of these public-health concerns, it
is hereby ORDERED:

General Order 20-0012, entered on March 12, 2020, is vacated and replaced with this Amended
General Order. To protect public health, reduce the size of public gatherings, and reduce any non-essential
travel, the United States District Court for the Northern District of Illinois hereby orders, effective March 17,
2020:

1. In all civil cases, all deadlines, whether set by the court or by the Rules of Civil Procedure or Local
Rules, are hereby extended by 21 days from the current deadline set. This also includes dates set by
the Executive Committee in proceedings set before that Committee. The United States District Court
remains accessible via electronic filing, and, in emergency situations and where resources permit,
phone conferencing and video conferencing.

2. Civil case hearings, trials, and settlement conferences scheduled from March 17, 2020 until April 3,
2020 are stricken from the calendar, to be re-set by the presiding judge on or after April 6, 2020. The
parties are cautioned that this Amended General Order does not affect the rights to or deadlines
concerning any appeal from any decision of this Court. That is, the deadlines for filing a notice of
appeal remain in place and must be followed to preserve appellate rights. The Court invites parties to

file an extension of time to appeal under Appellate Rule 4(a)(5)(A) no later than 30 days after the time

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prescribed by Rule 4(a). If a timely extension motion is filed, then the Court deems that good cause

exists for the extension in light of current public-health concerns.

. The Court recognizes and respects the right of criminal defendants to a speedy and public trial under

the Sixth Amendment, particularly as to defendants detained pending trial. Therefore, the following

procedures shall be implemented in criminal case proceedings:

a)

b)

dq)

g)

all criminal case proceedings, whether in the Eastern or Western Division, that cannot be
continued will be conducted in the Eastern Division by emergency district judges as designated
by the Chief Judge;

Grand juries shall continue to meet during the week of March 16, 2020, as provided in General
Order 20-0012. The Court will impose reasonable limits on grand jury meetings thereafter in
consultation with the U.S. Attorney's Office;

Judges may review complaints, applications for search warrants or trap/trace/pen registers,
applications for wire taps, or applications for other such warrants or orders by reliable
electronic means, rather than in person, under Criminal Rule 4.1;

When practicable and with the defendant's written consent, initial appearances and
arraignments may be conducted by video conference under Criminal Rules 5(f) and 10(c);

A defendant who does not object to detention should, before the date of the detention hearing,
notify the emergency judge orally through counsel or in writing that the defendant has no
objection to detention. The absence of objection may be lodged without prejudice to re-raising
pretrial release at a later date.

All hearings on the revocation of supervised release scheduled to begin before April 3, 2020
are continued and will be rescheduled by the presiding judge to a date on or after April 6, 2020,
unless the defendant, defense counsel, United States Probation Office or the United States
Attorney's Office notifies the emergency judge that the hearing is necessary prior to April 6,
2020;

All plea hearings and sentencing hearings scheduled to begin before April 3, 2020 are
continued and will be rescheduled by the presiding judge to a date on or after April 6, 2020,

unless the prosecutor or the defense notifies the emergency judge that the plea hearing or the
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sentencing must be held before April 6, 2020.

h) In criminal cases, the court finds that the period of any continuance entered from the date of
this order through April 6, 2020 as a result of this order shall be EXCLUDED under the Speedy
Trial Act, 18 U.S.C. §3161(h)(7)(A), because the court finds that the ends of justice served by
taking that action outweigh the interests of the parties and the public in a speedy trial, given the
need to protect the health and safety of defendants, their counsel, prosecutors, court staff, and
the public by reducing the number of in-person hearings to the greatest extent possible. The
Court may extend the period of exclusion as circumstances may warrant.

i) All other criminal hearings are immediately suspended and held in abeyance. With the
exception for appeal-related deadlines, including the deadline to file a notice of appeal, this
General Order suspends and continues, during the stay, any and all events and deadlines in
the affected criminal cases (whether established by order, rule, or agreement), including but
not limited to any scheduled proceedings, hearings, and /or discovery and pleading dates.

j) The parties are cautioned that this Amended General Order does not affect the rights to or
deadlines concerning any appeal from any decision of this Court. That is, the deadlines for
filing a notice of appeal remain in place and must be followed to preserve appellate rights.
Nonetheless, on its own motion and pursuant to Appellate Rule 4(b)(4), and in light of current
public-health concerns, the Court (i) finds that good cause exists in every criminal case to
extend the time to appeal for 30 days from the expiration of the time otherwise prescribed in
Appellate Rule 4(b), and (ii) extends the appeal deadline in every criminal case by 30 days.

4. Any party may seek emergency relief from this General Order. In addition to filing the motion in the
case in which the emergency relief is being sought, the party also must file the motion in Case No. 20-
cv-01792, which is a docket created to receive emergency motions under this Amended General Order.
The motion must be filed (i) electronically via CM/ECF if possible or (ii) via a paper-copy motion
(following guidance in Paragraphs 5 and 6 of this Order) with the Clerk’s Office. The motion will be
considered by the presiding judge, an emergency judge, or the Chief Judge.

5. During the effective period of this Order, the District Court Clerk’s Office in the Dirksen United States

Courthouse in Chicago, Illinois, will be open with limited staff. If possible, filings should be made
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electronically via CM/ECF. Deliveries of documents of any kind in the Eastern Division must be made to
the drop boxes in the lobby of the Dirksen Courthouse or the Clerk's Office located on the 20th floor. No
deliveries may be made to chambers.

6. During the effective period of this Order, the District Court Clerk’s Office in the Stanley J. Roszkowski
United States Courthouse in Rockford, Illinois, will be closed to the public. Filings in the Western
Division can be: (i) electronically filed via CMIECF: (ii) deposited in the drop box located on the 2nd
floor of the Roszkowski United States Courthouse during business hours; (iii mailed to US District
Court Clerk’s Office, 327 South Church Street, Rockford, IL 61 101: or (iv) made in person in the
Eastern Division at US District Court Clerk’s Office, 219 South Dearborn Street, 20th Floor, Chicago, IL
60604 during business hours. No deliveries may be made to chambers.

7. During the effective period of this Amended General Order, all public gatherings are suspended at both
the Everett McKinley Dirksen U.S. Courthouse in Chicago and the Stanley J. Roszkowski U.S.
Courthouse in Rockford. This includes, but is not limited to, group tours and visits, moot courts and
mock trials, bar group meetings, seminars, and naturalization ceremonies. Also suspended are Second
Chance reentry court proceedings; SOAR Court; Veterans Treatment court proceedings, and Petty
Offense (CvB) proceedings. The only exceptions are court proceedings that are allowed under some
other provision of this Order. .

8. The Court may issue other orders concerning future continuances as necessary and appropriate.

9. Electronic filings may still be made through the CM/ECF system. |

10. This General Order does not affect the authority of judges to enter orders in any civil or criminal cases.

11. For emergency matters, as defined by Local Rule 77.2, that arise during business hours (Monday
through Friday 7:00 a.m. through 6:00 p.m.), parties are directed to send an e-mail message to
Emergency_Judge@ilnd.uscourts.gov. The Clerk will monitor the mailbox and send a response. If an
emergency matter arises outside of regular business hours, arrangements to bring that matter before
the emergency judge may be made by calling (312) 702-8875 and leaving a complete message,
including a return telephone number. The Clerk will return the call.

12. The Court will vacate, amend, or extend this General Order no later than April 3, 2020.

13. The Clerk of Court shall distribute this Amended General Order by electronic service to all registered
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CM/ECF users; by first-class mail to unregistered litigants, including pro se litigants, and to attorneys
pending pro hac vice admission; and by posting the General Order on the Court's public website.
ENTER:

FOR THE COURT

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Dated at Chicago, Illinois this lo day of March, 2020

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